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COMMONWEALTH OF MASSACHUSETTS "

MIDDLESEX, SS

SUPERIOR COURT DEPARTMENT

OF THE TRIAL COURT
CIVIL ACTION NO. 04-

ROBERT J. HARRINGTON, FAYE BYRON,
CRAIG BUCK, VALERIE L. PAWSON, RAY
DRASNIN, WANDA MILLS, JEFF
GOLUMBUK CAROLINE MARSHALL-
SMITH, ANESIA KALAITZIDIS, KENNETH
IVANOVITZ, ATHANASE KARAGIORGOS,
HARRIET ZALWANGO, MICHAEL BLAU,
KENNETH MICCICHE and JENNIEE
TSOUVRAKAS on behalf of themselves and
others,

Plaintiffs
Vv.

DELTA AIR LINES, INC., AMERICAN
AIRLINES, US AIRWAYS GROUP, INC.,
d/b/a US AIRWAYS, NORTHWEST
AIRLINES, UNITED AIRLINES, INC.
ALASKA AIRLINES, CONTINENTAL

AIRLINES, AIR CANADA, CHINA EASTERN |.

AIRLINES CORPORATION LIMITED, CHINA
SOUTHERN AIRLINES COMPANY LIMITED,
DEUTSCHE LUFTHANSA, A.G., d/b/a
LUFTHANSA AIRLINES, SWISS
INTERNATIONAL AIRLINES LTD, d/b/a
SWISSAIR, BRITISH AIRWAYS, PLC, d/b/a
BRITISH AIRWAYS, MIDWAY AIRLINES
CORP., d/b/a MIDWAY AIRLINES;
ALITALIA-LINEE AEREE ITALIANE S.p.A,
d/b/a ALITALIA AIRLINES, SOUTHWEST
AIRLINES, CO., d/b/a SOUTHWEST
AIRLINES, OLYMPIC AIRWAYS-SERVICES,
SA, d/b/a OLYMPIC AIRWAYS and AIR
TRANSPORT ASSOCIATION,

Defendants

04-4410
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IN THE OFFICE OF THE
CLERK OF THE COURTS

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COMPLAINT, JURY CLAIM AND
REQUEST FOR CLASS CERTIFICATION

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I. INTRODUCTION AND OVERVIEW OF ACTION

1. The plaintiffs bring this action on behalf of themselves and on behalf of all others similarly
Situated, specifically, people who have forfeited airline tickets and/or had nonrefundable

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tickets for airline travel and who paid one or more of the following fees or taxes to the
defendant airlines:

a. Passenger facility charge user fee;
b. Zip tax user fee; and
c. Foreign landing tax or user fee.

The defendant airlines collect these taxes and fees as a fiduciary in order to pay them to the
applicable government agencies but the plaintiff class did not use the airline tickets and the
defendant airlines did not pay these fees and taxes to the government agencies but, rather, they
wrongfully and unjustly enriched themselves by keeping said funds. The plaintiffs claims are
of the “negative value” type as the value of each Class Member’s claim is minimal and
equitable restitution is being sought. The defendant airlines have hidden and concealed from
the plaintiff class the fact that said fees and taxes collected have not been paid to the
respective governmental agencies.

II. PARTIES AND FACTS

The plaintiff, Robert J. Harrington (“Harrington”), has a usual place of business at 7 Central
Street, Framingham, Middlesex County, Massachusetts. Harrington purchased an electronic

airline ticket on US Airways in September, 2002 and this was a nonrefundable ticket which
he did not use.

The plaintiff, Faye Bryon (“Bryon”), has a usual place of business at 7 Central Street,
Framingham, Middlesex County, Massachusetts. Bryon purchased an electronic airline ticket
on US Airways in September, 2002 and this was a nonrefundable ticket which she did not use.

The plaintiff, Valerie L. Pawson (“Pawson”), has a usual place of business at 88 Black Falcon
Avenue, Boston, Suffolk County, Massachusetts. Pawson purchased an airline ticket on

Continental Airlines in November, 2002 and this was a nonrefundable ticket which she did not
use.

The plaintiff, Jeff Golumbuk (“Golumbuk”), resides at 7889 Clairemont Mesa Boulevard., San
Diego, California 92111. Golumbuk purchased an airline ticket on China Eastern Airlines in
September, 2002 on China Southern Airlines in September, 2002 and these were
nonrefundable tickets which he did not use.

The plaintiff, Craig Buck (“Buck”), resides at 3078 Quince Street, San Diego, State of
California. Buck purchased airline tickets on Alaska Airlines in March, 2002 and on American
Airlines in March, 1999 and these were nonrefundable ticket and he did not use them.

The plaintiff, Wanda Mills (“Mills”) resides at 4 Mises Road Lady's Island, State of Carolina.
Mills purchased airline tickets on Northwest Airlines in August, 2001 and these were
nonrefundable tickets which she did not use.

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The plaintiff, Michael L. Blau (“Blau”) resides in La Jolla, State of California. Blau
purchased multiple airline tickets on United Airlines in December, 1998 and these were
nonrefundable tickets which he not use.

The plaintiff, Ray Drasnin (“Drasnin”), resides at 4330 Witherby Street, State of California.
Drasnin purchased airline tickets on Air Canada in May, 2001 and on Continental in August,
2002 and these were nonrefundable tickets which he not use.

The plaintiff, Caroline Marshall-Smith (‘“Marshall-Smith”), resides in West Yarmouth,
Barnstable County, Massachusetts. Marshall-Smith purchased five (5) airline tickets on Delta
Airlines, Inc., in May, 2004 and these tickets were nonrefundable tickets which she did not
use.

The plaintiff, Anesia Kalaitzidis (“Kalaitzidis”) resides in Boston, Suffolk County,
Massachusetts. Kalaitzidis purchased an airline ticket on Alitalia Airlines January, 2004 and
this ticket was a nonrefundable ticket which she did not use.

The plaintiff, Athanase Karagiorgos (“Karagiorgos”) resides in Newton, Middlesex County,
Massachusetts. Karagiorgos purchased an airline ticket on British Airways in March, 2002
and this was a nonrefundable ticket which he did not use.

The plaintiff, Harriet Zalwango (“Zalwango”) resides in Boston, Suffolk County,
Massachusetts. Zalwango purchased an airline ticket on Midway Airlines in March, 2002 and
this ticket was a nonrefundable ticket which she did not use.

The plaintiff, Kenneth Ivanovitz (“Ivanovitz”) resides in Springfield, Hampden County,

Massachusetts. Ivanovitz purchased an airline ticket on Swiss Air on November 12, 1998 and
this was a nonrefundable ticket which he did not use.

The plaintiff, Kenneth Micciche (“Micciche”) resides in Natick, Middlesex County,
Massachusetts. Micciche purchased an airline ticket on Southwest Airlines in March 2000
and this was a nonrefundable ticket which he did not use.

The plaintiff, Jenniee Tsouvrakas (““Tsouvrakas”), resides in Boston, Suffolk County,
Massachusetts. Tsouvrakas purchased an airline ticket on Olympic Airways in March, 2000
and this was a nonrefundable ticket which she did not use.

The defendant, Delta Air Lines, Inc. (“Delta”), is a Delaware corporation with its executive
offices located at 1030 Delta Boulevard, Atlanta, State of Georgia. Delta does business and
has qualified to do business in the Commonwealth of Massachusetts.

The defendant, American Airlines, Inc. (“American”), is a Delaware corporation with its
executive offices at 4333 Amon Carter Boulevard, Fort Worth, State of Texas, and it does
business and has qualified to do business in the Commonwealth of Massachusetts.

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The defendant, US Airways Group, Inc., d/b/a US Airways (“US Airways”), is a Delaware
corporation with its executive offices located at 2345 Capital Drive, Arlington, State of

Virginia, and it does business and has qualified to do business in the Commonwealth of
Massachusetts.

The defendant, Continental Airlines, Inc. (“Continental”), is a Delaware corporation with its
executive offices located at 1600 Smith Street, Houston, State of Texas, and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

The defendant, Northwest Airlines, Inc. (“Northwest”), is a Minnesota corporation with its
executive offices located at 2700 Lone Oak Parkway, Eagan, State of Minnesota, and it does
business and has qualified to do business in the Commonwealth of Massachusetts.

The defendant, United Airlines, Inc. (“United”), is a Delaware corporation with its executive
offices located at 1200 E. Algonquin Road, Elk Grove Township, State of 2700 Lone Oak

Parkway, Eagan, State of Minnesota, and it does business and has qualified to do business in
the Commonwealth of Massachusetts.

The defendant, Air Canada (“Air Canada”) is a Canadian corporation with its executive
offices located in Montreal, Province of Quebec, Dominion of Canada, and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

The defendant, China Eastern Airlines Corporation Limited (“China Eastern”) is a corporation
organized in China with its executive offices located at 2550 Hoqqiao Road, Shanghai, China
and it does business and has qualified to do business in the Commonwealth of Massachusetts.

The defendant, China Southern Airlines Corporation Limited (“China Southern”) is a
corporation organized in China with its executive offices located at Baiyon International
Airport, Guang Zhuu, Guangdong 510405, China and it does business and has qualified to do
business in the Commonwealth of Massachusetts.

The defendant, Deutsche Lufthansa, A.G., d/b/a Lufthansa Airlines (Lufthansa Airlines) is a
corporation organized in Germany, with its executive offices located at Cologne, Germany and
it does business and has qualified to do business in the Commonwealth of Massachusetts.

The defendant, Swiss International Airlines Ltd, d/b/a Swissair (“Swiss air”) is a corporation
organized in Switzerland with executive offices in Basel, Switzerland, and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

The defendant, British Airways, PLC d/b/a British Airways (“British Airways”), is a
corporation organized in Great Briton with executive in Harmondsworth, Great Britain and
it does business and has qualified to do business in the Commonwealth of Massachusetts,

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The defendant, Midway Airlines Corp., d/b/a Midway Airlines (“Midway Airlines”) is a
corporation with executive offices at Durham, North Carolina and it does business and has
qualified to do business in the Commonwealth of Massachusetts.

The defendant, Alitalia-Linee Aeree Italiane S.p.A, d/b/a Alitalia Airlines (“Alitalia
Airlines’), is an Italian corporation with executive offices in Rome, Italy and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

The defendant Southwest Airlines Co., d/b/a Southwest Airlines (“Southwest Airlines”) is a
Texas corporation with executive offices in Dallas, Texas and it does business and has
qualified to do business in the Commonwealth of Massachusetts.

The defendant, Olympic Airways-Services, SA, d/b/a Olympic Airways, is a Greek
corporation with executive offices in Athens, Greece and it does business and has qualified
to do business in the Commonwealth of Massachusetts.

The defendant, Air Transport Association (“ATA”), is a corporation with its executive offices
at 1301 Pennsylvania Avenue, N.W., Washington, D.C. ATA is the primary trade group for
airlines and it assists airlines in looking for ways to reduce costs, maximize efficiency and
increase profitability of its member airlines, which is most of the passenger airlines that fly
inortothe USA. ATA provides expertise, guidance and assistance to its member airlines and
Bruce Bishins, CTC, on behalf of travel agents and passengers, on several occasions,
requested that ATA rectify and clarify the matter of airlines’ refusal to return unused foreign
taxes and user fees on nonrefundable or forfeited tickets but to no avail. ATA saw this as a
matter which could have potentially serious implications and refused to take any position or
responsibility for this “unjust enrichment’ except to advise its members that there would be
no policy covering these matter. As aresult of ATA’s position (or lack thereof), even though
its officers knew that its members were violating the law, it has steadfastly refused to advise
its members as to what should be done or to establish any policies. ATA was advised by Mr.
Bishins that it was aiding and abetting unfair trade practices.

Il. CLASS ACTION ALLEGATIONS

Plaintiffs file this action as a Class Action pursuant to M.R.C.P. 23 on their own behalf and
on behalf of all other purchasers of airline tickets that were not used and/or non refundable.

It is estimated that there are tens of thousands of people and entities who purchased airline
tickets that they did not use them and/or purchased nonrefundable tickets. The members of the
Class are so numerous that joinder of all members is impracticable. While the exact number
of Class Members can be determined only by appropriate discovery, the plaintiffs believe that
such Class Members number in excess of tens of thousands of separate people or entities.

There are three (3) categories of Class Members, people or entities who, during the Class

Period, November 1, 1998 to date, forfeited and/or purchased nonrefundable airline tickets
and paid one or more of the following taxes:

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a. Passenger facility charge user fee;
b. Zip tax user fee; and
c. Foreign landing tax or user fee.

The plaintiffs’ claims are typical of the claims of the Members of the Class. The plaintiffs and
all members of the Class sustained damages as a result of the defendants’ wrongful conduct,
as described in this complaint.

The plaintiffs will fairly and adequately protect the interests of the Members of the Class, and
they have retained counsel competent and experienced in class action litigation.

A class action is superior to other available methods for the fair and efficient adjudication of
this controversy. The losses suffered by all of the Class Members are relatively small, albeit
significant, and of so-called negative value variety where it would not make sense to file a
complaint individually. Thus, the expense and burden of individual litigation makes it
impractical for most Class Members, individually, to seek redress for the wrongful conduct
alleged in this action.

Common questions of law and fact exist as to all Members of the Class and predominate over

any questions solely affecting individual Members of the Class. Among the questions of law
and fact common to the Class are:

a. Did the defendant airlines wrongfully retain for their own use the collected passenger

facilities charge user fees instead of paying said funds to the appropriate governmental
agencies and/or refunding said funds to the Class Members?

b. Did he defendant airlines wrongfully retain for their own use the collected zip tax user

fees instead of paying said funds to the appropriate governmental agencies and/or
refunding said funds to the Class Members?

c. Did he defendant airlines wrongfully retain for their own use the collected foreign

landing tax or user fees instead of paying said funds to the appropriate governmental
agencies and/or refunding said funds to the Class Members?

The plaintiffs know of no difficulty which will be encountered in the management of this
litigation that would preclude its maintenance as a class action.

Certifying this as a class action would resolve these issues for all potential plaintiffs without
the necessity of litigating individual lawsuits. Additionally, class certification in this matter
would not impose any undue burden upon the court and will foster judicial economy. In this
case, the certification of the class is appropriate as it would not complicate or delay
disposition of the case, the defendants would suffer no prejudice as a result of certification and
where certification would assure the Class Members that the defendant airlines would not
evade their responsibilities in implementing any court orders.

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43. | Thenames and addresses of all Class Members are available from the defendant airlines and
notice will be provided to Class Members via first-class mai] using techniques and a notice

approved by this court.
IV. CAUSES OF ACTION
COUNT I!

(Declaratory Judgment, G.L. Chapter 231A, Section 2)

The plaintiffs incorporate by reference and reallege paragraphs 1 through 43, inclusive, as if
fully set forth herein.

44. As defined by G.L. Chapter 231A, Section 2, an actual dispute and controversy exists as to
whether the defendant airlines owe the plaintiffs’ and the Class Members’ refunds and
equitable restitution for the following taxes and/or fees paid to the airlines but not paid by the
airlines to the appropriate governmental agency. These fees and taxes include:

a. Passenger facility charge user fees;

b. Zip tax user fees; and

c. Foreign landing tax or user fees.
COUNT IT

(Civil Conspiracy and Unjust Enrichment)

The plaintiffs incorporate by reference and reallege paragraphs 1 through 44, inclusive, as if
fully set forth herein.

45. The defendant airlines and ATA have joined together and committed a civil conspiracy to

unjustly enrich themselves with a manifest common plan of not informing the plaintiffs and the
Class Members of their rights to refunds and the airline defendants were willing participants
of the common plan and its execution to wrongfully retain said funds and each took affirmative
steps required in order to achieve this desired result. On several occasions, ATA has been

contacted as to the claims made herein of the airlines’ refusal to return unused foreign taxes
and user fees on nonrefundable or forfeited ticket but to no avail.

46. As a result of the defendants’ conduct, the plaintiffs and the Class Members have suffered
monetary losses and the defendants are, or should be, jointly and severally liable to the

plaintiffs and the Class Members for making restitution as prayed for herein.

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COUNT Hl
(Breach of Fiduciary Duty)

The plaintiffs incorporate by reference and reallege paragraphs | through 46, inclusive, as if

fully set forth herein.

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51.

Each of the defendant airlines’ actions, voluntarily undertaken, induced a fiduciary relationship
with the plaintiffs and the Class Members.

Each of the defendants knew, or should have known, that the plaintiffs and the Class Members
did not understand that they were entitled to a refund.

With regard to the plaintiffs and the Class Members purchasing airline tickets, each of the

defendants dominated them, causing special circumstances which created or contributed toa
fiduciary relationship.

Each of the defendant airlines owed a fiduciary duty to the plaintiffs and the Class Members
whereby they were obligated to:

Disclose information they would otherwise have no duty to disclose.

Refrain from self-dealing.

Do nothing which could hurt the interests of the plaintiffs and the Class Members.
Generally owe a duty of utmost good faith and loyalty.

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By the above-stated conduct, each of the defendant airlines breached these duties owed to the
plaintiffs and the Class Members who incurred damages as a result thereof.

COUNT IV
(Breach of Contract)

The plaintiffs incorporate by reference and reallege paragraphs 1 through 51, inclusive, as if

fully set forth herein.

52.

By the above stated actions, each of the defendant airlines have breached their agreement with
the plaintiffs and the Class Members who, as a direct result, have incurred monetary damages
plus interest, costs and attorneys’ fees.

COUNT V
(Breach of Good Faith and Fair Dealing)

The plaintiffs incorporate by reference and reallege paragraphs 1 through 52, inclusive, as if

fully set forth herein.

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53. Each of the defendant airlines owed to the plaintiffs and the Class Members a covenant of
good faith and fair dealing and the defendants breached said covenant as more fully described

above.

54. Asa result of each of the defendant airlines’ breach of the covenant of good faith and fair
dealing, the plaintiffs and the Class Members have incurred monetary damages plus interest,
costs and attorneys’ fees.

VI. PRAYERS FOR RELIEF

Wherefore, plaintiffs, on their own behalf and on behalf of others similarly situated (Class
Members), pray for judgement as follows:

1.

2.

Declare this action to be a Class Action;

Enter a declaratory judgment determining that the defendant airlines have wrongfully
retained taxes and fees from the plaintiffs and the Class Members.

Award to the plaintiffs and to all Class Members restitution of all monies paid and
wrongfully retained by the defendant airlines.

Treble the restitutionary amounts awarded;

Issue a permanent injunction to prevent the defendant airlines from retaining said fees
and taxes in the future.

Appoint an independent authority to review and assess the restitutionary claims ofall
Class Members.

Award plaintiffs their costs and expenses incurred in this action, including reasonable
attorney, accountant and expert fees.

. Award to plaintiffs and to all Class Members such other and further relief as this court

may deem meet, just and proper.

VI. CLASS ACTION STATUS

The plaintiffs and Class Members request that this matter be certified as a class action
pursuant to Mass. R. Civ. P. 23.

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Vill. JURY CLAIM

The plaintiffs and the Class Members demand a trial by jury on all issues so triable.

Dated: November 4, 2004

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Robert J. Harrington, Faye Byron, Craig Buck, Valerie L.
Pawson, Jeff Golumbuk, Ray Drasnin, Wanda Mills,
Caroline Marshall-Smith, Anesia Kalaitzidis, Kenneth
Ivanovitz, Athanase Karagiorgos, Harriet Zalwango,
Michael Blau and Kenneth Micciche, individually and on
behalf of themselves and Class Members,

Plaintiffs

By their Attorney,

Evans + Carter BBQ 1076560)
HARGRAVES, KARB, WILCOX & GALVANI, LLP

550 Cochituate Road - P.O. Box 966
Framingham, MA 01701-0966
(508) 620-0140

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United States District Court
District of Massachusetts

CRAIG BUCK, KENNETH MICCICHE, VALERIE L.

PAWSON, CAROLINE MARSHALL-SMITH,
WANDA MILLS; JEFF GOLUMBUK, ANESIA
KALAITZIDIS, ATHANASE KARAGIORGOS; AND
JENNIFER TSOUVRAKAS, on behalf of
themselves and others,

Plaintiffs,
v.

ALASKA AIRLINES, AMERICAN AIRLINES,
CONTINENTAL AIRLINES, DELTA AIR LINES,
INC., NORTHWEST AIRLINES, SOUTHWEST
AIRLINES Co., d/b/a SOUTHWEST AIRLINES,
CHINA EASTERN AIRLINES Corp. LTD., CHINA
SOUTHERN AIRLINES Co. LTD., AER LINGUS
LIMITED, ALITALIA-LINEE AEREE ITALIANE
S.p.A, d/b/a ALITALIA AIRLINES, BRITISH
AIRWAYS, PLC, d/b/a BRITISH AIRWAYS,
DEUTSCHE LUFTHANSA, A.G., d/b/a
LUFTHANSA AIRLINES, OLYMPIC AIRWAYS-
SERVICES, SA, d/b/a OLYMPIC AIRWAYS, AIR
TRANSPORT ASSOCIATION OF AMERICA, INC.,
AIRLINES REPORTING Corp., and the FEDERAL
AVIATION ADMINISTRATION,

Defendants.

Civil Action No. 04-12558-NMG

AMENDED COMPLAINT, JURY CLAIM,
AND REQUEST FOR CLASS
CERTIFICATION

I, INTRODUCTION AND OVERVIEW OF ACTION

1, The plaintiffs (collectively “Air Passengers” or “Passengers”) bring this action on

behalf of themselves and all others similarly situated, specifically persons—

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a. who purchased nonrefundable airline tickets that included domestic or foreign

taxes, fees, and charges.

b. who forfeited, cancelled, failed to use, made changes to, or did not complete

travel using the airline tickets; and

c. who did not receive a refund of the taxes, fees, or charges paid, even when

those taxes, fees, or charges—

(1) were not owed by the Air Passenger to the levying authority and not

paid to the levying authority by the Airline Industry; or

(2) were overpaid, when they were paid by the Airline Industry to the

levying authority, but were not owed by the Air Passenger.

2. The airline industry defendants (collectively the “Airline Industry” or the “Industry”)

collect these taxes, fees, and charges as a fiduciary in order to pay them to the applicable levying

authorities.

3. When Air Passengers do not use airline tickets, the Airline Industry, as a matter of
business practice, often fails to remit the collected funds to the levying authorities, instead

wrongfully and unjustly enriching itself by keeping the money, in a manner that is contrary to law or

against public policy, or both.
4. The Airline Industry failed to disclose, in a way meaningful to Air Passengers—

(a) whether the prepaid funds the Industry collected were due to the levying

authorities, even though the travel may not have been completed;

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(b) that any collected funds that were not due to the levying authorities were

therefore due as refunds to the Passengers who paid those funds; or

(c) that the collected funds that were not due to the levying authorities but that
were nevertheless withheld by the Industry were treated by the Industry as an

undisclosed penalty on Passengers.

Definitions of Terms Used in this Action

5. In this action:

(a) The term “taxes, fees, and charges” refers generally to PFCs, Federal user

fees, and foreign taxes, fees, and charges.

(b) The term “Passenger Facility Charge” (or “PFC”) refers to a charge under 14
C.F.R. part 158 and 49 U.S.C. § 40117. On ARC-compliant travel documents, this
charge is designated “XF”. (The charge is a $1, $2, $3, $4, or $4.50 charge assessed by

an regional or local public agency for approved airport improvements. These fees are
authorized by the Federal Aviation Administration to be imposed by the public agency

under Federal law.)

(c) The term “Federal user fees” refers collectively to the following federally

imposed fees:

(1) A USS. customs user fee under 19 C.F.R. part 24 (particularly §
24.22(g)(1)). On ARC-compliant travel documents, this charge is designated “YC”. (The
fee is $5 on tickets originating outside the U.S., Canada, Mexico, and the Caribbean

area.)

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(2)  Animmigration user fee under 8 C.F.R. part 286. On ARC-compliant
travel documents, this charge is usually designated “XY” if it is designated. (The fee

is $7 on international tickets into the U.S., Puerto Rico, Guam, St. Croix, St. John, or

St. Thomas.)

(3) An agricultural quarantine and inspection (AQI) user fee (also known
as an APHIS fee) under 7 C.F.R. § 354(f). On ARC-compliant travel documents, this
charge is usually designated “XA” if it is designated. (The fee is $3.10, indexed after

Oct. 1, 2001, for international travel into the U.S. or Puerto Rico, other than from

Canada.)

(4) AUS. security service fee (also called the “September 1 1th Security
Fee”) under 49 C.F.R. part 1510. On ARC-compliant travel documents, this charge is

usually designated “AY” if it is designated. (The fee is $2.50 per enplanement at a

U.S. airport, up to 2 per one-way trip or 4 per round trip.)

(d)  Theterm “foreign charges” refers to foreign charges, in the form of taxes and fees, as
required by pan-national authorities, national, regional, and local governments, or other
levying authorities outside the United States, including territories or possessions of the United

States not subject to U.S. excise taxes (under § 4261 et seq. of the Internal Revenue Code of

1986 (26 U.S.C. § 4261 e¢ seg.)) on domestic tickets.

Description of Taxes, Fees, and Charges

6. Several types of taxes and fees are collected from Air Passengers by the Airline
Industry on behalf of the United States Government agencies, State, local, and regional authorities,

and foreign governments. These include PFCs, Federal user fees, and foreign charges,

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7. Air carriers are required to collect PFCs and Federal user fees, which must be held in

“trust” by the collecting air carrier.

8. The air carrier collecting the funds must also periodically remit the fees to the
appropriate fee-levying authorities, maintain accounting systems and methods and submit to external

audits, and submit regular reports or statements about their fee-collecting and remitting activities.

User fees due when ‘service’ is ‘used’

9. The nature of user fees is to become due (that is, the fee is required to be paid to the
fee-levying authority) only if or when the passenger actually ‘uses’ the ‘service.’ PFCs and Federal

user fees are due as follows:

(a) PFCs and U.S. security services fees (September 1 1th Security Fees) are due

upon passenger “enplanement.”

_(b) Agricultural inspection user fees are due “upon arrival” of the passenger from

abroad.

(c) Immigration user fees are due for passengers “arriving” from abroad.

(d) U.S. Customs user fees are paid for “services provided in connection with

arrival of each passenger” from outside the Customs territory of the United States.

10. What constitutes ‘use’ varies slightly from fee to fee, but all amount to the same

thing: Ifa passenger doesn’t use the fee, the fee does not have to be paid to the fee-levying authority.

11. | Consequently, in the context of the refund and trust regulatory language discussed

above, if the fee never becomes due to the levying authority, it should be retumed to the person who

paid the fee.

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12. This is especially true where the collecting carrier ‘holds neither legal nor equitable
interest’ in the fees. (See 14 C.F.R. § 158.5 (PFCs); 49 C.F.R. § 1510.9(a) (U.S. security service
fees); 7 C.F.R. § 354.3(f)(1) (agricultural inspection user fees); 8 C.F.R. § 286.2(a) (immigration

user fees); 19 C.F.R. § 24.22(g)(1)(i)-(ii) (U.S. Customs user fees).)
TI. PARTIES AND FACTS

Plaintiffs
13. Plaintiff Craig Buck resides in San Diego, California.
14, Plaintiff Kenneth Micciche resides in Natick, Massachusetts.
15. Plaintiff Valerie Pawson resides in and does business from Boston, Massachusetts.
16. Plaintiff Caroline Marshall-Smith resides in West Yarmouth, Massachusetts.
17. Plaintiff Wanda Mills resides in Lady’s Island, South Carolina.
18. _—_ Plaintiff Jeff Golumbuk resides in San Diego, California.
19. Plaintiff Anesia Kalaitzidis resides in Boston, Massachusetts.
20. _— Plaintiff Athanase Karagiorgos resides in Newton, Massachusetts.
21. Plaintiff Jennifer Tsouvrakas resident in Boston, Massachusetts.
Defendants
Domestic Airlines

22. Defendant Alaska Airlines, Inc. (“Alaska Airlines” }—

(a) is an Alaska corporation;

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(b) has its principal offices in Seattle, Washington; and

(c) has been registered with the Secretary of the Commonwealth of

Massachusetts as a foreign corporation since January 25, 2002.

23. Defendant American Airlines, Inc. (“American Airlines”)}—
(a) is a Delaware corporation;
(b) has its principal offices in Forth Worth, Texas;

(c) has been registered with the Secretary of the Commonwealth of

Massachusetts as a foreign corporation since May 22, 1934;

(d) is registered with the states of California and South Carolina at all times

material hereto.

24. Defendant Continental Airlines, Inc. (“Continental Airlines” )}—
(a) is a Delaware corporation;

(b) has its principal offices in Houston, Texas; and

(c) has been registered with the Secretary of the Commonwealth of

Massachusetts as a foreign corporation since January 19, 1988.
25. Defendant Delta Air Lines, Inc. (“Delta Air Lines”)—
(a) a Delaware corporation;

(b) _ has its principal offices in Atlanta, Georgia; and

(c) has been registered with the Secretary of the Commonwealth of

Massachusetts as a foreign corporation since March 21, 1972.

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26. Defendant Northwest Airlines, Inc. (“Northwest Airlines”)}—

(a) is a Minnesota corporation;

(b) has its principal offices in Magan, Minnesota; and

(c) has been registered with the Secretary of the Commonwealth of
Massachusetts as a foreign corporation since May 21, 1992.

27. Defendant Southwest Airlines Co., d/b/a Southwest Airlines (“Southwest

Airlines”)—
(a) is a Texas corporation;
(b) __ has its principal offices in Dallas, Texas; and

(c) on information and belief, is not registered with the Secretary of the

Commonwealth of Massachusetts.

28. Each of the defendant domestic airlines operates at least one Internet Web site
through which the general public (including residents of Massachusetts, California, and South

Carolina) may purchase air tickets on the airline. The Internet Web sites are as follows:

(a) Alaska Airlines operates http://www.alaskaair.com/.

(b) American Airlines operates http://www.aa.com/.

(c) Continental Airlines operates http://www.continental.com/.

(d) Delta Air Lines operates http:/Avww.delta.com/.

(e) Northwest Airlines operates http://Awww.nwa.com/.

(f) Southwest Airlines operates http://www.southwest.cony,

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(g) United Air Lines operates http://www.united.com/.

Foreign Airlines
29. Defendant Aer Lingus Limited Airlines---
(a) is a foreign corporation organized in Ireland;
(b) has its principal offices in Dublin, Ireland;

(c) has been registered with the Secretary of the Commonwealth of Massachusetts

as a foreign corporation since October 4, 2004.
30 Defendant Alitalia-Linee Aeree Italiane S.p.A, d/b/a Alitalia Airlines—
(a) is a foreign corporation organized in Italy;
(b) __ has its principal offices in Rome, Italy; and

(c) on information and belief, is not registered with the Secretary of the

Commonwealth of Massachusetts.
31, Defendant British Airways, PLC, d/b/a British Airways—
(a) is a foreign corporation organized in the United Kingdom;

(b) on information and belief, has its principal headquarters in London, England,

and has its principal U.S. offices in Jackson, New York; and

(c) has been registered with the Secretary of the Commonwealth of

Massachusetts as a foreign corporation since October 5, 2000.

32. Defendant China Eastern Airlines Corp. Ltd.—

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(a) is a foreign corporation organized in the People’s Republic of China
(“China”);
(b) has its principal offices in Shanghai, China; and

(c) on information and belief, is not registered with the Secretary of the

Commonwealth of Massachusetts.
33. Defendant China Southern Airlines Corp. Ltd.—
(a) is a foreign corporation organized in China;
(b) has its principal offices in Guangzhou, Guangdong, China; and

(c) on information and belief, is not registered with the Secretary of the

Commonwealth of Massachusetts.

34. Defendant Deutsche Lufthansa, A.G., d/b/a Lufthansa [German] Airlines—
(a) is a foreign corporation organized in Germany;
(b) on information and belief, has its principal offices in Cologne, Germany; and

(c) on information and belief, is not registered with the Secretary of the

Commonwealth of Massachusetts.

35. Defendant Olympic Airways-Services, SA, d/b/a Olympic Airways—
(a) is a foreign corporation organized in Greece;
(b) has its principal offices in Athens, Greece; and

(c) on information and belief, is not registered with the Secretary of the

Commonwealth of Massachusetts.

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36.  Eachof the defendant foreign airlines operates at least one Internet Web site through
which the general public (including residents of Massachusetts, California, and South Carolina) may

purchase air tickets for travel on the airline. The Internet Web sites are as follows:

(a) Aer Lingus Limited operates http://www.aerlingus.com/

(b) Alitalia Airlines operates http://www.alitaliausa.com/,

(c) British Airways operates http//www.britishairways.com/travel/home/

public/en_us.

(d) China Eastern Airlines operates http://Awww.ce-air.com/cea/en_US/homepage.
(e) | China Southern Airlines operates http://www.cs-air.com/en/.

(f) Lufthansa German Airlines operates http://cms.lufthansa.com/fly/us/en/index.

(g) Olympic Airways operates http://www.olympicairlines.comy.

Air Transport Association of America
37. Defendant Air Transport Association of America, Inc. (““ATA”}—

(a) is a District of Columbia corporation; and

(b) has its principal offices in the City of Washington, in the District of

Columbia.

38. | ATA is the primary trade group for airlines and it assists airlines in looking for ways
to reduce costs, maximize efficiency, and increase profitability of its member airlines, which include

most of the passenger airlines that fly in or to the United States.

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39. ATA provides expertise, guidance, and assistance to its member airlines and Bruce
Bishins, CTC, on behalf of travel agents and passengers, on several occasions, requested that ATA
rectify and clarify the matter of airlines’ refusal to return unused foreign taxes and user fees on

nonrefundable or forfeited tickets but to no avail.

40. ATA saw this as a matter which could have potentially serious implications and
refused to take any position or responsibility for this “unjust enrichment,” except to advise its

members that there would be no policy covering these matters.

41. Asaresult of ATA’s position (or lack thereof), even though its officers knew that its

members were violating the law, it has steadfastly refused to advise its members as to what should

be done or to establish any policies.
42. ATA was aware that it was aiding and abetting unfair trade practices.

43. ATA operates at least one Internet Web site available to the general public (including

residents of Massachusetts, California, and South Carolina). ATA operates http://www.airlines.org/.

Airlines Reporting Corp.
44. Defendant Airlines Reporting Corp. (“ARC”)—

(a) is a close corporation owned by scheduled airline members of ATA that sign

ARC’s Carrier Services Agreement;

(b) on information and belief, is a corporation established under the laws of

Delaware.

(c) on information and belief, has its principal offices in Arlington, Virginia;

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(d) on information and belief, is not registered with the Secretaries of the

Commonwealth of Massachusetts, California or South Carolina.

45. ARC is an airline-owned company offering travel products and services, ticket
distribution, and settlement through a variety of channels in the United States, Puerto Rico, and the

U.S. Virgin Islands.

46. ARC provides ticket distribution, reporting, and settlement services for over 130 air

carriers and over 30,000 ARC-accredited travel agency locations and corporate travel departments.
47. ARC describes itself as “the information hub of the $85 billion Travel industry.”

48. Each of the airline defendants is a member of ARC. (See

http://www.arccorp.com/participants/part_carriers.html.)

49. ARC operates at least one Internet Web site available to the general public (including

residents of Massachusetts, California, and South Carolina). ARC operates http://www.arccorp.cony.

50. In 1997, ARC launched its Interactive Agent Reporting (IAR) system, which is an all-

electronic sales reporting system for travel agents.

51. In. 2001, the use of IAR electronic sales reporting surpassed 90 percent and in 2002,

its use surpassed 99 percent and with ARC-related travel agents, it is 100 percent usage.

52. As the primary entity providing ticket distribution, reporting, and settlement services
for the Airline Industry, and as the originator of the IAR system, ARC has the unique ability to

facilitate or hinder the proper calculation, collection, payment or remittance, and refund of taxes,

fees, and charges due from, paid by, or owing to Air Passengers.

53. ARC’s member airlines have signed ARC’s Carrier Services Agreement.

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Federal Aviation Administration

54. The defendant, the Federal Aviation Administration (“F.A.A.”), is an agency
within the U.S. Department of Transportation and has significant regulatory authority over the

Airline Industry.

55. The defendant, the Federal Aviation Administration (“F.A.A.”), in changing the
“collection compensation” rule with respect to PFCs to provide for compensation to the Airline

Industry, in the form of a percentage of each PFC collected by the Airline Industry (rather than each

PFC remitted to the PFC-levying authority)—

(a) exceeded the authority granted to the Secretary of Transportation or the
Administrator of the F.A.A. by the Congress by levying PFCs (or the portion thereof
consisting of the “collection compensation” paid to the Airline Industry) directly on Air
Passengers, even when such PFCs would otherwise be uncollectible by the actual PFC-

levying authority due to a change of an Air Passenger’s itinerary (including cancellation, no-

show, or missed travel);

(b) conspired with the Airline Industry to levy directly on Air Passengers (though
purportedly on behalf of the actual PFC-levying authorities) charges not due to such levying

authorities, which charges would not otherwise be subject to collection compensation by the

Airline Industry;

(c) may reduce the total amount of PFCs collected by the levying authority and

therefore reduce the amount of such funds available for F.A.A.-authorized improvements;
(d) will reduce (or has reduced) the amount of each PFC collected on behalf of
the levying authority by the amount of the “collection compensation”, thereby enriching the

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Airline Industry at the expense of PFC-levying authorities and Air Passengers, thereby

making the levying authority affirmatively pay for the collection of the PFCs;

(e) will reduce (or has reduced) the quality or amount of facilities and services

for Air Passengers who use the affected airports.

Ill. JURISDICTION
56. Jurisdiction in the Federal courts is proper under the following provisions:

(a) 28 U.S.C. § 1331 (Federal question), as the plaintiffs’ claims arise under the

laws of the United States, including the following:

(1) 7 C.F.R. § 354(f) (relating to agricultural inspection user fees).

(2) 8 C.F.R. part 286 (relating to immigration user fees).

(3) 14 C.F.R. part 158 and 49 U.S.C. § 40117 (relating to Passenger

Facility Charges).

(4) 19 C.F.R. part 24 (particularly § 24.22(g)(1)) (relating to U.S.

Customs user fees).

(5) 49 C.F.R. part 1510 (relating to U.S. security service fees, also called

the “September 11th Security Fee”).

(c) 28 U.S.C. § 1332(a) (diversity of citizenship and amount in controversy), as
“the matter in controversy exceeds [or is expected to exceed] the sum or value of $75,000 ...

and is between ... citizens of different States and in which citizens or subjects of a foreign

state are additional parties.”

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(d)  28U.S.C. § 1340 (cases involving customs duties), as 19 C.F.R. § 24.22(j)(2)
specifies the U.S. Customs fee imposed under 19 C.F.R. § 24.22(g) (which forms part of the

plaintiffs’ claims) is treated for jurisdictional purposes as a Customs duty.

(e) 28 U.S.C. § 1367 (supplemental jurisdiction), with respect to the plaintiffs’

related claims under State law.
IV. VENUE

57. Venue is proper in the District of Massachusetts under U.S.C. § 3732 and 28 U.S.C. §

1391(b) and (c) because at least one of the defendants transacts business in this District.
V. ADDITIONAL FACTS

Retention of Prepaid Taxes, Fees, and Charges

38. Each defendant airline sold one or more tickets for air travel to one or more of the

individual plaintiffs (for the use of the plaintiff or another person) for domestic or international

travel.

59. The plaintiffs each purchased (and may purchase in the future) nonrefundable airfare
from one or more defendant airlines for domestic or foreign travel, which provided (or may provide)

the basis for the plaintiffs’ advance payment (or prepayment) of anticipated domestic or foreign

taxes, fees, or charges.

60. The plaintiffs each paid (or prepaid) one or more of domestic or foreign taxes, fees, or

charges.

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61. The plaintiffs each did not use the purchased airfare and therefore the advance
payment (or prepayment) of certain taxes, fees, or charges became an overpayment of such taxes,

fees, or charges.
62. The airlines kept, for their own benefit, the plaintiffs’ overpayments of prepaid
anticipated taxes, fees, or charges.
Undisclosed Contract Provisions

63. The Airline Industry violated 14 C.F.R. part 253 and 49 U.S.C. § 41707 by, among
other things, seeking to impose on Air Passengers certain contract terms, incorporated by reference
into the contract of carriage, without providing Passengers conspicuous written notice of the salient

features of those terms on or with the ticket, including—
(a) terms restricting refunds of the ticket price;

(b) terms imposing monetary penalties on Passengers; and

(c) terms permitting the carrier to raise the price.

VI. CLass ACTION REQUEST

64. Plaintiffs file this action as a Class Action pursuant to Fed. R. Civ. P. 23 on their own

behalf and on behalf of all other similarly situated Air Passengers.

65. The members of the Class are so numerous that joinder of all members is
impracticable. While the exact number of Class Members can be determined only by appropriate

discovery, the plaintiffs believe that such Class Members number in excess of tens of thousands of

separate persons.

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66. The taxes, fees, and charges—-separate from the nonrefundable airfare purchased by

the plaintiffs—for which the plaintiffs seek compensation, are the following:

(a) Unrefunded prepaid domestic fees or charges, including PFCs and Federal

user fees,
(b) | Unrefunded prepaid foreign taxes, fees, or charges.

(c) Interest (on the principal amount of the fees collected) wrongfully retained as
a result of the Airline Industry’s failure to return unearned taxes, fees, and charges to Air

Passengers.
67. The Class Period is November 1, 1998, to the present.

68. The plaintiffs’ claims are typical of the claims of the Members of the Class. The
plaintiffs and all Members of the Class sustained damages as a result of the defendants’ conduct, as

described in this action.

69. The representative plaintiffs each sustained damages as a result of the wrongful
conduct of the Airline Industry and the claims of individual named plaintiffs are representative of the

claims of other members of the class of such plaintiffs.

70. The representative plaintiffs will fairly and adequately protect the interests of the

Class Members and they are represented by counsel competent and experienced in class action

litigation.

71. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy. The loss suffered by each individual class member is relatively

small, albeit significant, so it would be neither economical nor efficient for each to file a complaint

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individually. Thus, the expense and burden of individual litigation makes it impractical for most

putative Class Members individually to seek redress for the wrongful conduct alleged in this action.

72. Common questions of law and fact exist as to all putative Class Members, and these
common questions predominate over any questions solely affecting individual Class Members.

Among the questions of law and fact common to the putative class are the following:

(a) Did the Airline Industry wrongfully retain prepaid governmental fees and
charges that never became due to the levying authority because the Air Passengers (the

plaintiffs) never used the underlying airfare on which those prepayments had been based?

(b) Was the Airline Industry obligated to pay, and did it pay, to the levying
authorities the domestic and foreign taxes, fees, and charges collected from the plaintiffs,
notwithstanding the fact that such fees were not due under the applicable provisions of law

governing such fees and charges?

(c) Are any overpayments of domestic and foreign taxes, fees, and charges
refundable to the Airline Industry or to the Air Passengers from whom the overpayments

were collected?

(d) Is the Airline Industry liable to Air Passengers for overpayment to
governmental authorities with respect to domestic and foreign taxes, fees, and charges paid
by passengers but not actually due to such authorities (because of nonuse of the airfare that

formed the only basis for collection of such taxes, fees, and charges)?

(e) When airfare (on the one part) and governmentally imposed (or authorized)

taxes, fees, and charges (on the other part) are separately allocated on a ticket for air travel,

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what effect does that separation have on the nonrefundability of the airfare, or of the taxes,

fees, and charges?

(f) To what extent is Airline Industry retention of prepaid domestic and foreign
taxes, fees, and charges unlawful when an Air Passenger has not used the nonrefundable

airfare which was the only basis for collection of such prepaid taxes, fees, and charges?

(g) | When did the obligation to hold the collected funds in trust for the fee levying

authority cease?

(h) Did the Airline Industry give Air Passengers adequate notice of all the salient
terms of their contracts of carriage, including the extent of nonrefundability, the additional
penalty imposed due to the nonrefund of prepaid taxes, charges, and fees that were based on,

but not a part of, the nonrefundable airfare?

73. The plaintiffs know of no difficulty to be encountered in the management of this

litigation that would preclude its maintenance as a class action.

74, Certifying this action as a class action would resolve these issues for all potential
plaintiffs and defendants without the necessity of litigating individual lawsuits. Additionally, class
certification of this matter would not impose any undue burden upon the court and will foster

judicial economy.

75, Certification of the class is appropriate, since it would not complicate or delay
disposition of the case, the defendants would suffer no prejudice as a result of certification, and it
would assure the putative Class Members that the Airline Industry would not evade its

responsibilities in implementing any court orders.

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76. | The names and addresses of all Class Members are available from the Airline
Industry and notice can be provided to putative Class Members via first class mail using techniques

and a notice approved by the Court.

IV. CAUSES OF ACTION

Count I

(Declaratory Judgment)

77. The plaintiffs seek a declaratory judgment, under 28 U.S.C. § 2201(a) and Fed. R.
Civ. P. 57, to “declare the rights and other legal relations” of the parties with respect to the questions

of law described in paragraph 72.

Count IT

(Rescission of Contract)

78. By the actions described above, the defendant airlines violated 14 C.F.R. part 253
(notice of terms of contract of carriage) and are therefore entitled to rescission of the portions of the

contract that are in such violation.

79. The defendants failed to give sufficient notice of the incorporation of contract terms
as required by 14 C.F.R. § 253.5 (general notice of incorporated terms) and § 253.7 (direct notice for
certain terms, including terms “restricting refunds” and “imposing monetary penalties”), and

therefore such terms are in violation of those federally imposed contract requirements.

80. The effect of retaining fees to which the Airline Industry was not entitled was to

impose a ‘monetary penalty’ in the amount of the unrefunded taxes, charges, and fees that were not

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due the levying authorities when Air Passengers’ nonrefundable tickets went unused or were

forfeited.

81. Even though a ticket purchased by an Air Passenger might have stated that it was
“nonrefundable” or had a “change fee” (which amounts to a ‘penalty’), Air Passengers were not

informed of the additional penalty that would be imposed on them if they failed to use their

nonrefundable tickets.

82. The Air Passengers incurred monetary damages as a direct result of the defendant

airlines’ unlawful conduct.

Count IT

(Breach of Contract)

83. By the actions described above, each of the defendant airlines has breached its
agreement with the Air Passengers who purchased tickets for travel via the airline.

84. The Air Passengers incurred monetary damages as a direct result of such breaches of

contract.

Count IV

(Unjust Enrichment)

85. By the actions described above, each of the defendant airlines has been unjustly

enriched by its unlawful conduct, at the expense of Air Passengers who purchased tickets for travel

via the airline.

86. Certain charges or fees are refunded to the Airline Industry for fees collected in

conjunction with unused tickets or travel documents.

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87. The Airline Industry wrongfully retains (or withholds from Air Passengers) prepaid

taxes, charges, and fees (and the interest thereon) even when—
(a) the collected fees are not due to the levying authority;

(b) the collected funds are not paid by the Airline Industry to the levying

authority; and

(c) the collected funds are refunded to the Airline Industry by the levying

authority.

88. The Air Passengers have incurred monetary damages as a direct result of such unjust

enrichment.

Count V

(Breach of the Covenant of Good Faith and Fair Dealing)

89. Each of the defendant airlines owed to the Air Passengers a covenant of good faith

and fair dealing in the execution of the contracts between them.

90. By the actions described above, each of the defendant airlines breached that covenant

of good faith and fair dealing.

91. Asaresult of each of the defendant airlines’ breach of the covenant of good faith and

fair dealing, the plaintiffs and the Class Members have incurred monetary damages plus interest,

costs and attorneys’ fees.

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Count VI
(Breach of Fiduciary Duty)
92. of the defendant airlines was legally required to hold certain of the domestic and (on

information and belief) foreign taxes, fees, and charges in trust for the benefit of the authority

levying the taxes, fees, or charges.

93. the Air Passengers failed to use their tickets or complete their travel, thus
(potentially) removing any basis for the Airline Industry to hold the prepaid funds in trust for the
levying authority, the obligation to hold the collected funds in trust shifted, or should have shifted,
from an obligation to hold the funds in trust for the levying authority to an obligation to hold the

funds for the Air Passengers who paid the unearned taxes, fees, or charges.

94. Each of the defendant airlines owed a fiduciary duty to the plaintiffs and the Class

Members whereby they were obligated to:

(a) Disclose information they would otherwise have no duty to disclose.

(b) _—_‘ Refrain from self-dealing.

(c) Do nothing which could hurt the interests of the plaintiffs and the Class

Members.

(d) Generally owe a duty of utmost good faith and loyalty.

95. By the above-stated conduct, each of the defendant airlines breached their fiduciary

duty to the Air Passengers.

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96. The Air Passengers have incurred monetary damages as a direct result of these
defendants’ breach of their fiduciary duty to the Air Passengers with respect to unearned taxes, fees,

and charges prepaid by Passengers (and any interest thereon).

Count VII

(Civil Conspiracy)

97. By the actions described above and herein, the defendant members of the Airline
Industry (including the airline defendants, ATA, and ARC) have joined together and committed a
civil conspiracy to unjustly enrich the Airline Industry with a manifest common plan of not

informing (or misinforming) Air Passengers of their rights to refunds.

98. These defendants were willing participants in the common plan and in its execution to
wrongfully retain such funds, and each took affirmative steps required in order to achieve this

desired result.

99. Defendant ATA describes itself, at least in part, as “serv[ng] its member airlines ...
by developing and coordinating industry actions...” and “serv[ing] as a focal point for industry
efforts to standardize practices ... of the air transport system.” These statements may describe a
sinister purpose with respect to ATA’s role in guiding or setting Airline Industry policy, especially if
the “industry actions” it coordinates or the “standardize[d] practices” it seeks to establish are

unlawful, as alleged in this action.

100. Defendant ARC similarly coordinates and standardizes policy, procedures, systems,

and other aspects of the Airline Industry.

101. Air Passengers must pay user fees, and ostensibly they make payment of those fees to

the Airline Industry to hold in trust pending payment to the authorities levying the fees.

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102. These user fees are paid in addition to the airfare charged by the airlines and are
separately enumerated on receipts passengers receive. Yet Airline Industry policy appears to be
uniform in the failure or refusal to refund those fees to Air Passengers who have purchased and not

used (or have forfeited) nonrefundable tickets.

103. The plaintiffs assert that this practice is unlawful, and facts tending to show that the
Airline Industry has acted in concert to prevent such passengers from receiving refunds support the

plaintiffs’ civil conspiracy and breach of fiduciary duty claims.

104. The Air Passengers have incurred monetary damages as a result of these defendants’
unlawful conduct, and these defendants are, or should be, jointly and severally liable to the Air

Passengers for making restitution.

V. PRAYERS FOR RELIEF

Wherefore, plaintiffs, on their own behalf and on behalf of others similarly situated (Class

Members), pray for judgment as follows:
1. Declare this action to be a class action.

2. Enter a declaratory judgment determining that the Airline Industry has wrongfully

retained taxes, fees, and charges from Air Passengers.

3. Enter a declaratory judgment determining that the Airline Industry violated 14 C.F.R.
part 253 and 49 U.S.C. § 41707 by giving improper notice of certain contract provisions and that “an
air carrier may not claim the benefit as against the passenger of, and the passenger shall not be

bound by, any contract term” in such violation. (See 14 C.F.R. § 253.4(a).)

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4. Award to the Air Passengers Air Passengers restitution of all amounts paid and

wrongfully retained by the Airline Industry and treble the restitutionary amounts awarded.

5. Issue a permanent injunction to prevent the Airline Industry from retaining taxes,

fees, and charges in the future.

6. Declare the Federal Aviation Administration’s “collection compensation” rule change

to be unlawful and issue an injunction preventing its enforcement.

7, Appoint an independent authority to review and assess the restitutionary claims ofall

Class Members.

8. Award the Air Passengers their costs and expenses incurred in this action, including

reasonable attorney, accountant, and expert fees.

9. Award to the Air Passengers such other and further relief as this Court may deem
meet, just, and proper.
IV. REQUEST FOR CLASS CERTIFICATION

The plaintiffs and Class Members request that this matter be certified as a class action pursuant

to Fed. R. Civ. P. 23.

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VIL. Jury Claim

The plaintiffs and the Class Members demand a trial by jury on all issues so triable.

Plaintiffs,
By their Attorney,

/s/ Evans J. Carter

Evans J. Carter (BBO #076560)

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Dated: May 31, 2005

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